                         Case 3:24-mj-02563-RFC Document 1 Filed 06/21/24 Page 1 of 2
1AO 442 (REV. 12/85)


                                                United States District Court                                                 FILED

                                                       Western District of Texas                                          Jun 21 2024

                                                          El Paso Division                                          Clerk, U.S. District Court
                                                                                                                    Western District of Texas

                                                                                                              By:           mvm
                                                                                                                                       Deputy
USA                                                                      §
                                                                         § CRIMINAL COMPLAINT
vs.                                                                      § CASE NUMBER: EP:24-M -02563(1) RFC
                                                                         §
(1) MARIA ELENA RAMOS-JORGE                                              §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and

belief. On or about June 19, 2024 in El Paso county, in the WESTERN DISTRICT OF TEXAS defendant did, being an alien to the

United States, enter, attempt to enter, or was found in the United States after having been previously excluded, deported, or removed

from the United States without receiving permission to reapply for admission to the United States from the Attorney General of the

United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4),

and 557



in violation of Title                  8                  United States Code, Section(s)         1326



                  I further state that I am a Border Patrol Agent and that this complaint is based on the following facts: " The

DEFENDANT, Maria Elena RAMOS-Jorge, an alien to the United States and a citizen of Mexico was encountered at or near the

1300 block of Lomaland Dr. in El Paso, Texas in the Western District of Texas. From statements made by the "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,                                          /s/ BENITEZ-MEDINA, JOSE
                                                                                           Signature of Complainant
                                                                                           Border Patrol Agent


June 21, 2024                                                                        at EL PASO, Texas
File Date                                                                               City and State




ROBERT F. CASTANEDA                                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                                             Signature of Judicial Officer
                                                                                                     OATH TELEPHONICALLY SWORN
                                                                                                     AT 1:01 P.M.
                                                                                                      FED.R.CRIM.P.4.1(b)(2)(A)
                 Case 3:24-mj-02563-RFC Document 1 Filed 06/21/24 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:24-M -02563(1)

WESTERN DISTRICT OF TEXAS

(1) MARIA ELENA RAMOS-JORGE

FACTS (CONTINUED)

DEFENDANT to the arresting agent, the DEFENDANT was determined to be a native and citizen of Mexico,
without immigration documents allowing her to be or remain in the United States legally. The DEFENDANT has
been previously removed from the United States to Mexico on June 14, 2024, through El Paso, Texas. The
DEFENDANT has not previously received the expressed consent from the Attorney General of the United States
or the Secretary of Homeland Security to reapply for admission into the United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been removed 1 time, the last one being to MEXICO on June 14, 2024, through EL PASO,
TX

CRIMINAL HISTORY:

NONE
